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                       EXHIBIT D
Case 2:17-cv-13158-MOB-MKM ECF No. 36-5 filed 05/24/18                 PageID.267   Page 2 of 4




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 In Re: AUTOMOTIVE PARTS
                                                 Master File No. 2:12-md-02311
 ANTITRUST LITIGATION
----------------!
                                                 Honorable Marianne 0. Battani
 In Re: Valve Timing Control Devices
                                                 Civil No. 2:l 7-cv-13158
  ALL EUROPEAN AUTO SUPPLY, INC.,
  individually and on behalf of a class of all
  others similarly situated,                     ELECTRONICALLY FILED

                              Plaintiff          ORAL ARGUMENT REQUESTED
  V.




  AISIN SEIKI CO., LTD., AISIN
  AUTOMOTIVE CASTING, LLC, KOREA
  DELPHI AUTOMOTIVE SYSTEMS CORP.,
  HITACHI, LTD., HITACHI AUTOMOTIVE
  SYSTEMS, LTD., HITACHI AUTOMOTIVE
  SYSTEMS AMERICAS, INC., MIKUNI
  CORPORATION, MIKUNIAMERICAN
  CORPORATION, MITSUBISHI ELECTRIC
  CORPORATION, MITSUBISHI ELECTRIC
  US HOLDINGS, INC., MITSUBISHI
  ELECTRIC AUTOMOTIVE AMERICA,
  INC.
                              Defendants


  DECLARATION OF KOICHI YAMADA IN SUPPORT OF AISIN SEIKI CO., LTD. AND
   AISIN AUTOMOTIVE CASTING, LLC'S MOTIONS TO DISMISS ALL EUROPEAN
              AUTO SUPPLY, INC.'S CLASS ACTION COMPLAINT
Case 2:17-cv-13158-MOB-MKM ECF No. 36-5 filed 05/24/18                      PageID.268       Page 3 of 4




  Pursuant to 28 U.S.C. § 1746, Koichi Yamada hereby declares as follows:

            I.   I submit this Declaration in support of Aisin Seiki Co., Ltd. 'sand Aisin

  Automotive Casting, LLC's Motions to Dismiss All European Auto Supply, Inc. 's ("AEAS")

  Class Action Complaint, No. 2:17-cv-13158-JCO-APP, Sept. 26, 2017, ECF No. 1

  ("Complaint"). I am a resident of Japan. I have personal knowledge of the matters contained

  herein.

            2.   I serve as a General Manager of the Legal Department of Aisin Seiki Co., Ltd.

  ("Aisin Seiki"). Aisin Seiki is a Japanese corporation, with its principal place of business in

  Kari ya, Japan, that primarily develops and produces certain components for the automotive

  industry.

            3.   Aisin Automotive Casting, LLC ("Aisin Automotive Casting") is an indirect,

  wholly-owned subsidiary of Aisin Seiki. It is incorporated in Kentucky, and its principal place

  of business is in London, Kentucky. Aisin Automotive Casting produces engine-related

  functional and die cast automotive parts. Within the broad definition of"Valve Timing Control

  Devices" set forth in the Complaint, Aisin Automotive Casting only produces variable valve

  timing ("VVT") devices.

            4.   Aisin World Corp. of America ("AWA") is an indirect, wholly-owned subsidiary

  of Aisin Seiki. It is incorporated in Michigan, and its principal place of business is in Northville,

  Michigan. AWA sells automotive parts and accessories.

            5.   No entity within the Aisin Seiki group of companies sold VVT as a replacement

  part for use in the aftermarket in the United States before September 2015.

            6.   A WA is the only entity within the Aisin Seiki group of companies that has sold

  VVT in the United States.
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         7.      No entity within the Aisin Seiki group of companies sold VVT as aftermarket

  replacement parts to Plaintiff AEAS before November 2015.


  I declare under penalty of perjury under the laws of the United States of America that the
  foregoing is true and correct.

  EXECUTED ON: May 23, 2018 in Kariya, Japan.


                                                  L/.;
                                               Koichi Yamada
                                               General Mana er, Legal Department
                                               Aisin Seiki Co., Ltd.
